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 2   765 University Avenue
     Sacramento, CA 95825
 3   Telephone: (916) 444-9845
 4   Attorneys for Defendant,
     NICOLE DAWSON
 5
 6                 IN THE UNITED STATES DISTRICT COURT FOR THE
 7                       EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                   Case No.: 2:10 CR-0223 JAM
10               Plaintiff,
                                                 STIPULATION AND ORDER SETTING
11        vs.                                    SENTENCING DATE AND REFERRING
                                                 MATTER FOR UPDATED
12   NICOLE DAWSON,                              PRESENTENCE INVESTIGATION
                                                 REPORT
13               Defendant.                      Date: June 10, 2014
14                                               Time: 9:30 a.m.
                                                 Judge: John A. Mendez
15
16           The United States of America, through its counsel Assistant
17   U. S. Attorney Philip A. Ferrari, and defendant Nicole Dawson,
18   through her counsel Clyde M. Blackmon, hereby stipulate that the
19   status conference regarding sentencing in this matter which is
20   now set for 9:30 a.m. on June 10, 2014, may be dropped from the
21   Court’s calendar and that the imposition of judgment and
22   sentence upon Ms. Dawson be set for 9:30 a.m. on August 12,
23   2014.    It is further stipulated that the matter be referred to
24   the Probation Department for an updated Presentence
25   Investigation Report (“PSR”) to be filed with the Court and
26   served on the parities no later than August 5, 2014.
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     STIPULATION AND [PROPOSED] ORDER SETTING SENTENCING DATE AND REFERRING MATTER
                      FOR UPDATED PRESENTENCE INVESTIGATION REPORT
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 1        An updated PSR is needed because Ms. Dawson entered her
 2   plea of guilty on September 6, 2011, and a PSR was filed April
 3   23, 2013, some 16 months before she will be sentenced in August
 4   of 2014.   Therefore, the parties stipulate that the matter may
 5   be referred for an updated PSR.
 6        IT IS SO STIPULATED.
 7   DATED:     June 4, 2014            By: //s// Clyde M. Blackmon for_
                                                Philip A. Ferrari
 8                                              Assistant U.S. Attorney
 9
     DATED:     June 4, 2014            By: _//s// Clyde M. Blackmon___
10                                              CLYDE M. BLACKMON,
                                                ROTHSCHILD WISHEK & SANDS
11                                              LLP, Attorneys for
12                                              Defendant NICOLE DAWSON

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     STIPULATION AND [PROPOSED] ORDER SETTING SENTENCING DATE AND REFERRING MATTER
                      FOR UPDATED PRESENTENCE INVESTIGATION REPORT
      Case 2:10-cr-00223-JAM Document 586 Filed 06/05/14 Page 3 of 3


 1                                      ORDER
 2        GOOD CAUSE APPEARING upon the stipulation of the parties it
 3   is ordered that the status conference regarding the sentencing
 4   of Nicole Dawson now scheduled for June 10, 2014, is dropped
 5   from the Court’s calendar and sentencing of Ms. Dawson is set
 6   for 9:30 a.m. on August 12, 2014.           It is further ordered that
 7   the matter is referred to the Probation Department for the
 8   preparation of an updated Presentence Investigation Report to be
 9   filed with the Court and served on the parties no later than
10   August 5, 2014.
11        IT IS SO ORDERED:
12   DATED:   6/4/2014                  /s/ John A. Mendez________________
                                        JOHN A. MENDEZ
13                                      United States District Court Judge
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     STIPULATION AND [PROPOSED] ORDER SETTING SENTENCING DATE AND REFERRING MATTER
                      FOR UPDATED PRESENTENCE INVESTIGATION REPORT
